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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 LEGRAIN WINSTON, et al.                         )
                                                 ) Case No. 18-cv-05726
         Plaintiffs,                             )
                                                 ) Hon. Matthew F. Kennelly
 v.                                              )
                                                 ))
 THOMAS J. DART, et al.                          )
                                                 )
         Defendants.

                         MOTION FOR EXTENSION OF TIME
                 TO FILE REPLY IN SUPPORT OF MOTION TO DISMISS

        Defendants THOMAS J. DART, JOSEPH RANZINO, GREGORY SHIELDS, THOMAS

NEAL, CHRISTOPHER ROHLOFF, and COOK COUNTY (“Defendants”) by and through their

attorney, Justin L. Leinenweber, Leinenweber Baroni & Daffada, LLC as Special State’s Attorney,

respectfully move this Court for an extension of time to file Defendants’ Reply in Support of

Motion to Dismiss. In support of their Motion, Defendants state as follows:

        1.      Plaintiffs filed their Complaint on August 21, 2018, alleging they suffered race

discrimination and retaliation while employed with the Cook County Sheriff’s Office.

        2.      The Cook County State’s Attorney’s Office filed a motion to dismiss Plaintiffs’

Complaint on March 5, 2019, and Defendants responded on April 9, 2019. Defendants’ reply is

currently due to be filed on April 23, 2019.

        3.      The undersigned counsel was engaged on April 18, 2019, to represent Defendants

in this matter. The undersigned counsel requires additional time to discuss this matter with his

clients and to become acquainted with the facts in this case and the relevant statutes and case law.
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       4.      Accordingly, Defendants respectfully request that the Court grant them an

additional seven (7) days to file their reply in support of Defendants’ Motion to Dismiss, up to and

including April 30, 2019.

       5.      Defendants were unable to speak with Plaintiffs’ counsel prior to filing this motion

to determine their position on this motion.

       6.      Counsel for Defendants files this motion in good faith and not for the purpose of

improper delay.

       WHEREFORE, Defendants respectfully request this Honorable Court grant them until

April 30, 2019, to file their reply in support of their Motion to Dismiss Plaintiffs’ Complaint.

                                                      Respectfully Submitted,

                                              By:     /s/ Justin L. Leinenweber
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